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Mr, Ajit Bhogaita
312C Cherokee Ct.
Altamonte Springs, Fi. 32701

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CERTIFIED MAIL 7008 1140 0002 0008 4294

August 17, 2010

Dear Mr. Bhogaita,

I am in receipt of your undated certified letter which was received by the
Association today, and which responds to the letter previously sent to you dated July 13,
2010 regarding your request for an exception to the rule limitations on weights for pets.
When you originally submitted an exception request you advised the BOD that your
request was based on mental health issues that you were currently being treated for and
that your pet was needed soley for “emotional support”.

Afler receiving your request the Association submitted the information to the
Association’s attorney for review. Following his review the July 13, 2010 letter was sent
to you asking for clarification on certain issues, including a question as to why a pet
exceeding the current weight restrictions would be necessary for emotional support as
opposed to a pet that meets the current weight restrictions. You have responded by now
claiming that you have an additional medical disability that requires the oversized pet (a
disability related to your knees),

The responses in your letter are convoluted as it relates to the Association trying
to make a determination as to your request for an exception based on your claimed need
an oversized pet as emotional support. As such it presents additional questions that must
be answered before a determination can be made. | will outline the questions below:

Please list each individual disability that you feel your pet is required

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for in order for you to offset the effects of those individual disabilities.
Originally you claimed one disability. Now you are claiming another
disability. Please list ali related disabilities.

° Please provide documentation from a medical professional(s) that

clearly supports that you have any of the disabilities noted above,
disabilities that substantially limit a major life activity, and that you are

in need of a trained “support animal” that exceeds the 25 pound weight
limit for that disability. Please include contact physician information as

well. (Note: You have already provided documentation regarding your
claim related to menta! health issues; however, your psychiatrist has not
indicated that you need an oversized pet for this disability. This should
be clarified by him if you want the exception for this particular condition
considered).

a If you add names of any additional medical professional(s) from your
original submission only of Dr, Li, please include how many sessions
you have had with those additional physicians similar to the information
you provided regarding your sessions with Dr. Li.

2 Please provide all information related to the professional training your
pet has successfully completed regarding the assistance you claim he/she
is required to offer you as a Support animal. This requested information
shall include the type of training the pet received specific to the
disability, the dates of training, the location of the training, names and
contact name of the trainer(s), and copies of any certificates of
successful completion.

As noted above, your new claim of needing an oversized pet for a different disability than
you Originally claimed causes the need to have this additional information answered.
Please respond back with the requested information as soon as possible, however, no later
than 30 days. At that point a determination will be made regarding your request. Thank

you.

Dennis Warren, Director
Altamonte Heights Condominiums

